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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1700V
                                    Filed: October 21, 2019
                                        UNPUBLISHED


    ANNE DOETKOTT,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                  Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA)

                        Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.
Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Corcoran, Chief Special Master:

       On November 2, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
November 6, 2015. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.




1I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On October 18, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states that “petitioner has satisfied the criteria set forth in
the revised Vaccine Injury Table and Qualifications and Aids to Interpretation.” Id. at 5.
Respondent further agrees that “the medical records demonstrate that petitioner has
experienced the residual effects of her SIRVA for more than six months.” Id.

       In view of respondent’s position and the evidence of record, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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